United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

IN RE HIV ANTITRUST LITIGATION.

 

 

Case No. 19-cv-02573-EMC

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United States District Court
Northern District of California

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Element (1): Anticompetitive Conduct

1.

At step one of the rule of reason, did the plaintiffs prove that Gilead had market power
within the relevant market(s) that included Truvada and/or Atripla?

a. Truvada Yes No iS

b. . Atripla Yes —(isé‘WNOO SS.

If you answered “yes” to either of the above, proceed to Question 2. If you answered

“no” to both of the above, skip the remaining questions, and sign and date the form.

At step one of the rule of reason, did the plaintiffs prove that the April 25, 2014, patent
settlement agreement between Gilead and Teva included a “reverse payment” from Gilead
to Teva so that Teva would delay its entry into the market and Gilead could thereby avoid
the risk of generic competition?

Yes No

Ifyou answered “yes” to the above, proceed to Question 3. If you answered “no,” skip

the remaining questions, and sign and date the form.

At step two of the rule of reason, did the defendants come forward with evidence that their
conduct had procompetitive effects?

Yes No

 

If you answered “yes” to the above, proceed to Question 4. [f you answered “no,” skip

Question 4 and proceed to Question 5.

 
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At step three of the rule of reason, did the plaintiffs do at least one of the following:

(a)
(b)

(c)

Yes

 

.rebut the procompetitive effects claimed by the defendants;

prove that the procompetitive effects claimed by the defendants could have been
reasonably achieved in a substantially less restrictive manner; or
prove that the anticompetitive effects of the defendants’ conduct substantially
outweighed the procompetitive benefits claimed by the defendants.

No

 

Ifyou answered “yes” to the above, proceed to Question 5. If you answered “no,” skip

the remaining questions, and sign and date the form.

Element (2): Antitrust Injury

5.

Did the plaintiffs prove that the defendants’ conduct caused entry of generic Truvada or

generic Atripla to be delayed, thereby causing any one or more of the below plaintiffs to

pay some amount more for the drug than they would have paid if generic entry had not

been delayed?
a. United
Truvada Yes No
Atripla Yes No
b. End-Payor Purchaser Classes (EPPs)

Truvada Yes No
Atripla Yes No
Florida Blue (IHPP)

Truvada Yes No
Atripla Yes No

 
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d. Centene (HPP)
Yes

Yes

Truvada

Atripla

e. HCSC (IHPP)
Yes

Yes

Truvada

Atripla

f. Triple-S Salud (IHPP)
Yes

Yes

Truvada

Atripla

g. Kaiser (IHPP)
Yes

Truvada

Yes

Atripla

h. Blue KC (IHPP)
Yes

Truvada

Yes

Atripla

iL. Humana (I[HPP)
Yes

Truvada

Atripla Yes

 

Ifyou answered “yes” to one or more of the above, then for those plaintiffs/drugs for
which you answered “yes” proceed to Question 6 below. If you answered “no” for ail the

plaintiffs and all ihe drugs above, skip the remaining questions, and sign and date the

form.

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No
No

No
No

No

No

No
No

No
No

No

No

 

 
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6. Please indicate the amount of overcharges for those plaintiffs/drugs for which you

answered “yes” above. Do not fill in the below for any plaintiffs/drugs that you answered

“no” to above.

 

a. United
Truvada $
Atripla $

 

b. End-Payor Purchaser Classes (EPPs)

Truvada

Alabama

Atripla

 

Arizona

 

 

California

 

 

Connecticut

 

 

District of Columbia

 

 

Florida

 

 

Hawaii

 

Iowa

 

 

Kansas

 

Maine

Maryland

 

Massachusetts

 

 

Michigan

Minnesota

 

Mississippi

 

Missouri

 

Nebraska

 

Nevada

 

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New Hampshire

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New Mexico $ $
New York $ $
North Carolina $ $
North Dakota $ $
Oregon $ $
Rhode Island $ $
South Dakota $ $
Tennessee $ $
Utah $ $
Vermont $ $
West Virginia $ $
Wisconsin $ $

TOTAL: $ $

c. Florida Blue (IHPP)
Truvada Atripla

Alabama $ $
Arizona $ $
California $ $
Connecticut $ $
District of Columbia $ N/A
Florida $ $
Hawaii $ N/A
Illinois $ $
Iowa $ $
Kansas $ N/A
Louisiana $ $
Maine $ §

 

 
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Maryland $ N/A
Massachusetts $ N/A
Michigan $ $
Minnesota $ N/A
Mississippi $ N/A
Missouri $ N/A
Montana N/A $
Nebraska $ $
Nevada $ $
New Hampshire $ N/A
New Mexico $ N/A
New York $ S_
North Carolina $ $
Oregon $ N/A
Rhode Island $ N/A
South Carolina $ $
South Dakota $ N/A
Tennessee $ $
Utah $ N/A
Vermont $_ N/A
Wisconsin $ $

TOTAL: $ $

d.  Centene (IHPP)
Truvada Atripla

Alabama $ $
Arizona $ $
California $ $

 

 
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Connecticut

 

District of Columbia

 

Florida

 

Hawaii

 

Illinois

 

Iowa

 

Kansas

 

Louisiana

 

Maine

 

Maryland

 

Michigan

 

Minnesota

 

Mississippi .

Missouri

 

Montana

Nebraska

 

Nevada

 

New Hampshire

 

New Mexico

 

New York

 

North Carolina

 

North Dakota

 

Oregon

 

Rhode Island

 

FFA FA F F FF FA FF F F F FR LF FR F FR F FH FFF F FPF FH fF

South Carolina

 

South Dakota N/A

 

Tennessee

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Utah

 
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Vermont $ $
West Virginia $ $
Wisconsin $ $

TOTAL: $ $

e. | HCSC (HPP)
Truvada Atripla

Alabama $_- $
Arizona $ $
California $ $
Connecticut $ N/A
District of Columbia $_- $
Florida $ $
Hawaii $ $
Illinois $ $
Iowa $ $
Kansas $ $
Louisiana $ $
Maine $ $
Maryland $ $
Massachusetts $ N/A
Michigan $ $
Minnesota $ $
Mississippi $ $
Missouri $ $
Montana $ $
Nebraska $ $
Nevada $ $

 

 
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New Hampshire

New Mexico

New York

North Carolina
North Dakota
Oregon

Rhode Island
South Carolina
South Dakota
Tennessee
Utah

Vermont

West Virginia
Wisconsin

TOTAL:

Connecticut
Illinois
New York
North Carolina
TOTAL:

Kaiser (IHPP)

California

 

 

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N/A

N/A

 

 

 

 

Fi FB FA FF F BH

 

 

N/A

 

" Triple-S Salud (HPP)

Truvada

$

 

 

 

HR Fi F Fr .

 

Truvada

$

District of Columbia $

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Atripla
N/A
N/A
N/A

N/A

N/A

Atripla

 
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Hawaii

Maryland

Oregon
TOTAL:

h. Blue KC (HPP)

Alabama
Arizona
California
Connecticut
District of Columbia
Florida
Hawaii
Illinois
Iowa
Kansas
Louisiana

_ Maryland
Massachusetts
Michigan
Minnesota
Missouri
Nebraska
Nevada
New York
North Carolina

Oregon

 

 

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Ff fF fF fF

 

Truvada

 

 

 

 

 

 

 

 

 

 

 

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Atripla

N/A
N/A

N/A

N/A

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N/A
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N/A

 

South Carolina
Tennessee

Utah N/A

 

Wisconsin N/A

 

FF iF FF FF BF

TOTAL:

i. Humana (IHPP)
Truvada Atripla —

Alabama

 

 

Arizona

California

 

Connecticut

 

District of Columbia

 

Florida

 

Hawaii

 

Illinois

 

lowa

 

‘Kansas
Louisiana

Maine

 

Maryland

 

Michigan

 

Minnesota

 

Mississippi

 

Missouri

 

Montana

 

 

Nebraska .

Nevada

 

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New Hampshire

 

New Mexico

 

New York

 

North Carolina

 

North Dakota

 

Oregon

 

Rhode Island

 

 

 

South Dakota

Tennessee

 

Utah

 

Vermont

 

West Virginia

 

Wisconsin

 

Fr F FR F F FR Fe HF FH FH FF F FHF TF HF

$
$
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$
$
$
$
South Carolina $
$
$
$
$
$
$
$

TOTAL:

 

Proceed to Question 7 below.

7. Was the defendants’ antitrust violation(s) that you found flagrant?

Yes . No

 

 

Proceed to Question & below.

8. Was the defendants’ antitrust violation(s) that you found willful? -

Yes No.

 

 

Please sign and date the form.

 

 

PregiHing’ Juror
. Spojong

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